 Case 2:21-cv-10549-DPH-KGA ECF No. 1, PageID.1 Filed 03/11/21 Page 1 of 22




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

 FRANK GALLO,                    )
                                 )
                                 )              Case No.
                 Plaintiff,      )
                                 )              COMPLAINT FOR
                                 )
       v.                        )              VIOLATION OF THE
                                 )              FEDERAL SECURITIES LAWS
 TCF FINANCIAL CORPORATION,      )
                                 )              JURY TRIAL DEMANDED
 GARY TORGOW, THOMAS C.          )
 SHAFER, VANCE K. OPPERMAN,      )
                                 )
 DAVID T. PROVOST, PETER BELL, )
 KAREN L. GRANDSTRAND,           )
                                 )
 RICHARD H. KING, RONALD A.      )
 KLEIN, BARBARA J. MAHONE,       )
                                 )
 BARBARA L. MCQUADE, ROGER J. )
 SIT, JULIE H. SULLIVAN, JEFFREY )
                                 )
 L. TATE, ARTHUR A. WEISS,       )
 FRANKLIN C. WHEATLAKE, and      )
                                 )
 THERESA M.H. WISE,              )
                                 )
                 Defendants.     )
                                 )

      Plaintiff Frank Gallo (“Plaintiff”), by and through his undersigned counsel,

for his complaint against defendants, alleges upon personal knowledge with respect

to himself, and upon information and belief based upon, inter alia, the investigation

of counsel as to all other allegations herein, as follows:

                 NATURE AND SUMMARY OF THE ACTION

      1.     Plaintiff brings this action against TCF Financial Corporation (“TCF”

or the “Company”) and the members of its Board of Directors (the “Board” or the
 Case 2:21-cv-10549-DPH-KGA ECF No. 1, PageID.2 Filed 03/11/21 Page 2 of 22




“Individual Defendants”) for their violations of Sections 14(a) and 20(a) of the

Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a),

and U.S. Securities and Exchange Commission (“SEC”) Rule 14a-9, 17 C.F.R. §

240.14a-9, arising out of their attempt to sell TCF to Huntington Bancshares

Incorporated (“Huntington”) (the “Proposed Transaction”).

        2.   On December 13, 2020, TCF announced that it had entered into an

Agreement and Plan of Merger dated December 13, 2020 (the “Merger

Agreement”), pursuant to which each TCF stockholder will receive 3.0028 shares

of Huntington common stock for each share of TCF common stock they own.

        3.   On February 17, 2021, TCF filed a Schedule 14A Definitive Proxy

Statement (the “Proxy”) with the SEC. The Proxy is materially deficient and

misleading because, inter alia, it fails to disclose material information regarding: (i)

the projections for each of TCF, Huntington, and the pro forma company and the

data and inputs underlying the financial analyses that support the fairness opinion

provided by the Company’s financial advisor, Keefe, Bruyette & Woods, Inc.

(“KBW”); and (ii) the background of the Proposed Transaction. Without additional

information, the Proxy is materially misleading in violation of the federal securities

laws.

        4.   The stockholder vote to approve the Proposed Transaction is

forthcoming. Under the Merger Agreement, following a successful stockholder




                                         -2-
 Case 2:21-cv-10549-DPH-KGA ECF No. 1, PageID.3 Filed 03/11/21 Page 3 of 22




vote, the Proposed Transaction will be consummated. For these reasons and as set

forth in detail herein, Plaintiff seeks to enjoin defendants from conducting the

stockholder vote on the Proposed Transaction unless and until the material

information discussed below is disclosed to the holders of the Company common

stock, or, in the event the Proposed Transaction is consummated, to recover damages

resulting from the defendants’ violations of the Exchange Act.

                          JURISDICTION AND VENUE

      5.     This Court has jurisdiction over the claims asserted herein for violations

of Sections 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9 promulgated

thereunder pursuant to Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28

U.S.C. § 1331 (federal question jurisdiction).

      6.     This Court has jurisdiction over the defendants because each defendant

is either a corporation that conducts business in and maintains operations within this

District, or is an individual with sufficient minimum contacts with this District so as

to make the exercise of jurisdiction by this Court permissible under traditional

notions of fair play and substantial justice.

      7.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because

Plaintiff’s claims arose in this District, where a substantial portion of the actionable

conduct took place, where most of the documents are electronically stored, and

where the evidence exists. TCF is headquartered in this District. Moreover, each of




                                          -3-
 Case 2:21-cv-10549-DPH-KGA ECF No. 1, PageID.4 Filed 03/11/21 Page 4 of 22




the Individual Defendants, as Company officers or directors, has extensive contacts

within this District.

                                 THE PARTIES
      8.     Plaintiff is, and has been at all times relevant hereto, a continuous

stockholder of TCF.

      9.     Defendant TCF is a Michigan corporation with its principal executive

offices located at 333 W. Fort Street, Suite 1800, Detroit, Michigan 48226. TCF is

a financial holding company. TCF’s common stock trades on the Nasdaq Global

Select Market under the ticker symbol “TCF.”

      10.    Defendant Gary Torgow (“Torgow”) is Executive Chairman of the

Board and has served as a director of the Company since August 1, 2019.

      11.    Defendant Thomas C. Shafer serves as Chief Executive Officer

(“CEO”) of TCF Bank and has served as Vice Chairman of the Board and a director

of the Company since October 2020.

      12.    Defendant Vance K. Opperman is Lead Independent Director and has

served as a director of the Company since August 1, 2019.

      13.    Defendant David T. Provost (“Provost”) is CEO of the Company and

has served as Executive Vice Chairman since August 1, 2019 and a director of the

Company since August 31, 2016.




                                       -4-
 Case 2:21-cv-10549-DPH-KGA ECF No. 1, PageID.5 Filed 03/11/21 Page 5 of 22




      14.   Defendant Peter Bell has served as a director of the Company since

August 1, 2019.

      15.   Defendant Karen L. Grandstrand has served as a director of the

Company since August 1, 2019.

      16.   Defendant Richard H. King has served as a director of the Company

since August 1, 2019.

      17.   Defendant Ronald A. Klein has served as a director of the Company

since August 31, 2016.

      18.   Defendant Barbara J. Mahone has served as a director of the Company

since August 31, 2016.

      19.   Defendant Barbara L. McQuade has served as a director of the

Company since April 25, 2018.

      20.   Defendant Roger J. Sit has served as a director of the Company since

August 1, 2019.

      21.   Defendant Julie H. Sullivan has served as a director of the Company

since August 1, 2019.

      22.   Defendant Jeffrey L. Tate has served as a director of the Company since

March 1, 2017.

      23.   Defendant Arthur A. Weiss has served as a director of the Company

since August 31, 2016.




                                      -5-
 Case 2:21-cv-10549-DPH-KGA ECF No. 1, PageID.6 Filed 03/11/21 Page 6 of 22




      24.   Defendant Franklin C. Wheatlake has served as a director of the

Company since January 2006.

      25.   Defendant Theresa M. H. Wise has served as a director of the Company

since August 1, 2019.

      26.   Defendants identified in paragraphs 10-25 are referred to herein as the

“Board” or the “Individual Defendants.”

      27.   Relevant non-party Huntington is a Maryland corporation with its

principal executive offices located at 41 South High Street, Columbus, Ohio 43287.

Huntington is a multi-state diversified regional bank holding company with a

network of 839 full-service branches, including 11 Private Client Group offices, and

1,330 ATMs across seven Midwestern states. Huntington’s common stock trades

on the Nasdaq Global Select Market under the ticker symbol “HBAN.”

                        SUBSTANTIVE ALLEGATIONS
Background of the Company and the Proposed Transaction

      28.   TCF is a financial holding company incorporated in 1973 and

headquartered in Detroit, Michigan. TCF, formerly known as Chemical Financial

Corporation, completed a merger of equals with TCF Financial Corporation, a

Delaware corporation on August 1, 2019. As of September 30, 2020, TCF had total

assets of $47.6 billion, and was the 31st largest publicly traded bank holding

company in the United States based on total assets at September 30, 2020.




                                       -6-
 Case 2:21-cv-10549-DPH-KGA ECF No. 1, PageID.7 Filed 03/11/21 Page 7 of 22




      29.    TCF’s primary banking subsidiary, TCF National Bank (“TCF Bank”

or the “Bank”), is a premier Midwest bank offering consumer and commercial

banking, trust and wealth management, and specialty leasing and lending products

and services to consumers, small businesses and commercial clients. Through TCF

Bank, TCF provides a full range of consumer-facing and commercial services,

including consumer and commercial banking, trust and wealth management, and

specialty leasing and lending products and services to consumers, small businesses

and commercial customers. TCF Bank operates banking centers primarily located

in Michigan, Illinois, and Minnesota with additional locations in Colorado, Ohio,

South Dakota, and Wisconsin. TCF also conducts business across all 50 states and

Canada through its specialty lending and leasing businesses.

      30.    On January 22, 2021, TCF announced its fourth quarter 2020 financial

results. For the quarter, quarterly net income was $91.4 million, or $0.58 per diluted

share, a 63.9% increase from the third quarter of 2020. Net interest income was

$381.4 million, compared to $377.2 million in the third quarter of 2020. Adjusted

diluted earnings per common share was $0.75, a 19.0% increase from the third

quarter of 2020. Defendant Provost commented on the financial results, stating:

      The fourth quarter was highlighted by strong momentum across the
      bank which helped drive higher loan and lease balances, increased
      revenues, net interest margin expansion, and strong capital ratios, all of
      which position us well as we prepare to complete our announced merger
      with Huntington in the second quarter of 2021. We believe this merger
      will benefit our key stakeholders through leading market share in top



                                        -7-
 Case 2:21-cv-10549-DPH-KGA ECF No. 1, PageID.8 Filed 03/11/21 Page 8 of 22




        Midwest markets, increased scale, a broader product set, enhanced
        technology capabilities and investments, and significant earnings per
        share accretion. As we look forward to the closing of the merger, our
        focus over the next several months will be on taking care of our team
        members, serving both our consumer and commercial customers, and
        growing the business.

        31.   On December 13, 2020, TCF and Huntington issued a joint press

release announcing the Proposed Transaction. The press release states, in relevant

part:

        COLUMBUS, Ohio and DETROIT, Dec. 13, 2020 -- Huntington
        Bancshares Incorporated (“Huntington”) (Nasdaq: HBAN;
        www.huntington.com), the parent company of The Huntington
        National Bank, and TCF Financial Corporation (“TCF”) (Nasdaq: TCF;
        www.tcfbank.com), the parent company of TCF National Bank, today
        announced the signing of a definitive agreement under which the
        companies will combine in an all-stock merger with a total market value
        of approximately $22 billion to create a top 10 U.S. regional bank with
        dual headquarters in Detroit, Michigan and Columbus, Ohio.

        The combined company will bring together two purpose-driven
        organizations with a deep commitment to the customers and
        communities they serve. With a rich history of caring for customers
        and colleagues, the new organization will have a top 5 rank in
        approximately 70% of its deposit markets and will leverage its scale to
        serve customer needs through a distinctive, “People-First, Digitally-
        Powered” customer experience.

        Under the terms of the agreement, which was unanimously approved
        by the boards of directors of both companies, TCF will merge into
        Huntington, and the combined holding company and bank will operate
        under the Huntington name and brand following the closing of the
        transaction. Upon closing, Stephen D. Steinour will remain the
        chairman, president, and CEO of the holding company and CEO and
        president of the bank. Gary Torgow will serve as chairman of the
        bank’s board of directors.




                                         -8-
Case 2:21-cv-10549-DPH-KGA ECF No. 1, PageID.9 Filed 03/11/21 Page 9 of 22




    “This merger combines the best of both companies and provides the
    scale and resources to drive increased long-term shareholder value.
    Huntington is focused on accelerating digital investments to further
    enhance our award-winning people-first, digitally powered customer
    experience,” Steinour said. “We look forward to welcoming the TCF
    Team Members. Together we will have a stronger company better able
    to support our customers and drive economic growth in the
    communities we serve.”

    The headquarters for the Commercial Bank will be in Detroit where at
    least 800 employees of the combined company, nearly three times the
    number TCF had planned, will be housed in the downtown structure.
    Columbus will remain the headquarters for the holding company and
    the Consumer Bank.

    “This partnership will provide us the opportunity for deeper
    investments in our communities, more jobs in Detroit, an increased
    commitment in Minneapolis and a better experience for our customers,”
    Torgow said. “We will be a top regional bank, with the scale to
    compete and the passion to serve. Merging with the Huntington
    platform will be a great benefit to all of our stakeholders and will drive
    significant opportunities for our team members.”

    The pro forma combined company will have approximately $168
    billion in assets, $117 billion in loans, and $134 billion in deposits. The
    combined organization will significantly improve Huntington's market
    position, increase scale and provide greater revenue growth
    opportunities. The company is expected to extend its top quartile
    financial metrics after completion of the integration.

    Huntington expects the financially compelling transaction to be 18%
    accretive to earnings per share in 2022, assuming the fully phased-in
    transaction cost synergies. The merger uniquely positions the
    combined organization to capitalize on market opportunities and
    broaden the channels and customers it serves through expanded
    distribution and product offerings.

    Strategic and Financial Benefits of the Proposed Merger




                                       -9-
Case 2:21-cv-10549-DPH-KGA ECF No. 1, PageID.10 Filed 03/11/21 Page 10 of 22




        • Enhanced Profitability and Scale: The combined company’s
          expanded distribution and scale positions Huntington to serve an
          expanded customer base through a distinctive customer
          experience while driving top-quartile financial performance.

        • Significant Cost Synergies: Estimated cost savings of the
          combined company are approximately $490 million, or 37% of
          TCF’s noninterest expense.

        • Revenue Growth through Combined Segments and
          Expanded National Footprint Businesses: The combined
          company will strengthen its Consumer, Wealth, Business
          Banking, and Commercial businesses. Huntington will leverage
          its broader product and services offering, as well as its award-
          winning digital capabilities, across the expanded combined
          customer base. In addition, TCF operates national inventory and
          equipment finance businesses, which will complement
          Huntington's existing commercial efforts.

        • Strengthened Market Position: The combined company will
          maintain its leading market position with the largest branch share
          and second position in Consumer Deposits in the footprint. The
          combination expands the Huntington footprint to include
          Minnesota, Colorado, Wisconsin, and South Dakota, and
          deepens its presence in Chicago.

        • Strong Brand and Cultural Alignment: The combined
          company expands the reach of Huntington's “Welcome” culture
          and enriches an inclusive, diverse, high-performing team.

        • Community Commitment: Huntington will contribute $50
          million to a donor advised fund at the Community Foundation
          for Southeast Michigan to serve the needs of communities in
          Detroit and across the footprint of the combined bank. This
          donor advised fund will be in addition to commitments already
          made by both banks, including a combined $10 million to
          Detroit’s Strategic Neighborhood Fund. The combined company
          also will remain committed to Minneapolis, where TCF was
          founded nearly a century ago. Huntington and TCF have



                                     - 10 -
Case 2:21-cv-10549-DPH-KGA ECF No. 1, PageID.11 Filed 03/11/21 Page 11 of 22




           consistently earned “Outstanding” ratings under the Community
           Reinvestment Act. Huntington recently announced a $20 billion
           Community Plan, which is focused on driving economic
           inclusion through access to capital, affordable housing and home
           ownership, and community lending and investment. $5 billion is
           specifically dedicated to Michigan. The most recent component
           of the Community Plan is “Huntington's Lift Local Business”
           which provides much-needed capital to local minority, woman
           and veteran-owned businesses, as well as giving customers
           access to business planning and educational programs to support
           local businesses. TCF also recently announced a $1 billion
           commitment over five years to support minority-owned and
           women-owned small businesses, which will be added to
           Huntington's commitment. Huntington is the #1 SBA Lender in
           the nation for loan origination, and this merger will provide
           expanded opportunity to bring that expertise to a larger,
           combined footprint.

     Board of Directors

     At closing, five current TCF Directors will be added to the Board of
     Directors of the holding company. David L. Porteous will serve as
     Lead Director of the holding company's Board of Directors and the
     bank's Board of Directors.

     Timing and Approvals

     The merger is expected to close in the second quarter of 2021, subject
     to satisfaction of customary closing conditions, including receipt of
     customary regulatory approvals and approval by the shareholders of
     each company.

The Proxy Contains Material Misstatements or Omissions

     32.   On February 17, 2021, defendants filed the materially misleading and

incomplete Proxy with the SEC. Designed to convince TCF’s stockholders to vote

in favor of the Proposed Transaction, the Proxy is rendered misleading by the




                                     - 11 -
Case 2:21-cv-10549-DPH-KGA ECF No. 1, PageID.12 Filed 03/11/21 Page 12 of 22




omission of critical information concerning: (i) the projections for each of TCF,

Huntington, and the pro forma company and the data and inputs underlying the

financial analyses that support the fairness opinion provided by KBW; and (ii) the

background of the Proposed Transaction.

Material Omissions Concerning Financial Projections for TCF, Huntington, and
the Pro Forma Company and KBW’s Financial Analyses

      33.   The Proxy omits material information regarding financial projections

for TCF, Huntington, and the pro forma company.

      34.   The Proxy sets forth that in connection with KBW’s discounted cash

flow analyses for each of TCF, Huntington, and the pro forma entity, KBW utilized

the “estimated excess cash flows that [TCF, Huntington, and the pro forma combined

entity] could generate over the period from June 30, 2021 through December 31,

2026.” Proxy at 82-83. The Proxy, however, fails to disclose the estimated excess

cash flows that each of TCF, Huntington, and the pro forma combined entity could

generate from June 30, 2021 through December 31, 2026.

      35.   The Proxy also omits material information concerning KBW’s financial

analyses.

      36.   The Proxy describes KBW’s fairness opinion and the various valuation

analyses performed in support of its opinion. However, the description of KBW’s

fairness opinion and analyses fails to include key inputs and assumptions underlying

these analyses.   Without this information, as described below, TCF’s public



                                       - 12 -
Case 2:21-cv-10549-DPH-KGA ECF No. 1, PageID.13 Filed 03/11/21 Page 13 of 22




stockholders are unable to fully understand these analyses and, thus, are unable to

determine what weight, if any, to place on KBW’s fairness opinion in determining

whether to vote in favor of the Proposed Transaction.

      37.    With respect to KBW’s TCF Selected Companies Analysis and

Huntington Selected Companies Analysis, the Proxy fails to disclose the individual

multiples and financial metrics for each of the selected companies analyzed by KBW.

      38.    With respect to KBW’s Selected Transactions Analysis, the Proxy fails

to disclose the individual multiples and financial metrics for each of the selected

transactions analyzed by KBW.

      39.    With respect to KBW’s Relative Contribution Analysis, the Proxy fails

to disclose and quantify the following items for each of TCF and Huntington used

in the analysis: (i) Gross Loans Held for Investment; (ii) Deposits; (iii) Tangible

Common Equity; (v) 2020-2022 Earnings; and (vi) 2021-2022 Pre-Tax, Pre-

Provision Earnings.

      40.    With respect to KBW’s Financial Impact Analysis, the Proxy fails to

disclose: (i) the specific accretion/dilution figures resulting from the analysis; (ii)

the pro forma assumptions (including, without limitation, the cost savings and

related expenses expected to result from the merger and certain other earnings

adjustments, accounting adjustments and restructuring charges assumed with respect

thereto) provided by Huntington management and utilized by KBW; and (iii)




                                        - 13 -
Case 2:21-cv-10549-DPH-KGA ECF No. 1, PageID.14 Filed 03/11/21 Page 14 of 22




Huntington’s tangible common equity to tangible assets ratio, Leverage Ratio,

Common Equity Tier 1 Ratio, Tier 1 Capital Ratio and Total Risk-based Capital

Ratio at closing as of June 30, 2021.

      41.    With respect to KBW’s Huntington Discounted Cash Flow Analysis, the

Proxy fails to disclose: (i) the estimated excess cash flows that Huntington could

generate over the period from June 30, 2021 through December 31, 2026 as a

standalone company; (ii) Huntington’s 2026 earnings; (iii) Huntington’s implied

terminal value; and (iv) the individual inputs and assumptions underlying the discount

rates ranging from 9.0% to 12.0%.

      42.    With respect to KBW’s TCF Discounted Cash Flow Analysis, the Proxy

fails to disclose: (i) the estimated excess cash flows that TCF could generate over the

period from June 30, 2021 through December 31, 2026 as a standalone company; (ii)

TCF’s 2026 earnings; (iii) TCF’s implied terminal value; and (iv) the individual inputs

and assumptions underlying the discount rates ranging from 10.0% to 13.0%.

      43.    With respect to KBW’s Pro Forma Combined Discounted Cash Flow

Analysis, the Proxy fails to disclose: (i) the estimated excess cash flows that the pro

forma combined entity could generate over the period from June 30, 2021 through

December 31, 2026; (ii) the pro forma combined entity’s 2026 earnings; (iii) the

implied terminal values for the pro forma combined entity; (iv) the estimated cost

savings and related expenses, other earnings adjustments, accounting adjustments and




                                        - 14 -
Case 2:21-cv-10549-DPH-KGA ECF No. 1, PageID.15 Filed 03/11/21 Page 15 of 22




restructuring charges used in the analysis; and (v) the individual inputs and

assumptions underlying the discount rates ranging from 9.0% to 12.0%.

      44.    Without such undisclosed information, TCF stockholders cannot

evaluate for themselves whether the financial analyses performed by KBW were

based on reliable inputs and assumptions or whether they were prepared with an eye

toward ensuring that a positive fairness opinion could be rendered in connection with

the Proposed Transaction. In other words, full disclosure of the omissions identified

above is required in order to ensure that stockholders can fully evaluate the extent to

which KBW’s opinion and analyses should factor into their decision whether to vote

in favor of or against the Proposed Transaction.

      45.    The omission of this material information renders certain portions of

the Proxy materially misleading, including, inter alia, the following sections of the

Proxy: “Opinion of TCF’s Financial Advisor” and “Certain Unaudited Prospective

Financial Information.”

Material Omissions Concerning the Background Leading to the Proposed
Transaction
      46.    The Proxy fails to disclose material information concerning the

background of the Proposed Transaction.

      47.    The Proxy sets forth that:

      Also on November 30, 2020, the TCF Board held a meeting. . . . A
      KBW representative discussed certain preliminary financial
      observations, the transactional landscape in the banking industry and
      other potential strategic alternatives for TCF, including the universe of


                                          - 15 -
Case 2:21-cv-10549-DPH-KGA ECF No. 1, PageID.16 Filed 03/11/21 Page 16 of 22




       other potential acquirors and merger partners.

Id. at 67. Yet, the Proxy fails to disclose: (i) the details of the other potential strategic

alternatives for TCF, including the potential acquirors or merger partners discussed

by the KBW representative; and (ii) whether the Board considered the potential

strategic alternatives and whether to contact any of the potential acquirors or merger

partners.

       48.    Additionally, the Proxy sets forth that Huntington’s November 16,

2020 proposal contemplated the potential to include cash for up to 10% of the total

consideration. Id. at 66. The Proxy fails to set forth when Huntington removed the

option to include cash for up to 10% of the total consideration, as well as any Board

discussions regarding the cash option.

       49.    Moreover, the Proxy fails to disclose the timing and nature of all

communications between Huntington and TCF’s executive officers and directors

regarding the employment agreements Huntington and certain TCF officers

executed and the change-in-control payments TCF’s officers stand to receive in

addition to their continued employment with the combined company.

       50.    Communications regarding post-transaction employment and merger-

related benefits during the negotiation of the underlying transaction must be

disclosed to shareholders. This information is necessary for TCF’s shareholders to

understand potential conflicts of interest of management and the Board, as that




                                           - 16 -
Case 2:21-cv-10549-DPH-KGA ECF No. 1, PageID.17 Filed 03/11/21 Page 17 of 22




information provides illumination concerning motivations that would prevent

fiduciaries from acting solely in the best interests of the Company’s shareholders.

      51.    The omission of this material information renders certain portions of

the Proxy materially misleading, including, inter alia, the following sections of the

Proxy: “Background of the Merger” and “Interests of TCF’s Directors and Executive

Officers in the Merger.”

      52.    Accordingly, Plaintiff seeks injunctive and other equitable relief to

prevent the irreparable injury that Company stockholders will continue to suffer

absent judicial intervention.


                                CLAIMS FOR RELIEF

                                       COUNT I

      Claims Against All Defendants for Violations of Section 14(a) of the
           Exchange Act and Rule 14a-9 Promulgated Thereunder

      53.    Plaintiff repeats all previous allegations as if set forth in full.

      54.    During the relevant period, defendants disseminated the false and

misleading Proxy specified above, which failed to disclose material facts necessary

to make the statements, in light of the circumstances under which they were made,

not misleading in violation of Section 14(a) of the Exchange Act and SEC Rule 14a-

9 promulgated thereunder.

      55.    By virtue of their positions within the Company, the defendants were

aware of this information and of their duty to disclose this information in the Proxy.


                                         - 17 -
Case 2:21-cv-10549-DPH-KGA ECF No. 1, PageID.18 Filed 03/11/21 Page 18 of 22




The Proxy was prepared, reviewed, and/or disseminated by the defendants. It

misrepresented and/or omitted material facts, including material information about

the projections for each of TCF, Huntington, and the pro forma company utilized by

KBW in its financial analyses, the data and inputs underlying the financial valuation

analyses that support the fairness opinion provided by KBW, and the background of

the Proposed Transaction. The defendants were at least negligent in filing the Proxy

with these materially false and misleading statements.

      56.      The omissions and false and misleading statements in the Proxy are

material in that a reasonable stockholder would consider them important in deciding

how to vote on the Proposed Transaction.

      57.      By reason of the foregoing, the defendants have violated Section 14(a)

of the Exchange Act and SEC Rule 14a-9(a) promulgated thereunder.

      58.      Because of the false and misleading statements in the Proxy, Plaintiff

is threatened with irreparable harm, rendering money damages inadequate.

Therefore, injunctive relief is appropriate to ensure defendants’ misconduct is

corrected.

                                        COUNT II
             Claims Against the Individual Defendants for Violations of
                        Section 20(a) of the Exchange Act

      59.      Plaintiff repeats all previous allegations as if set forth in full.




                                           - 18 -
Case 2:21-cv-10549-DPH-KGA ECF No. 1, PageID.19 Filed 03/11/21 Page 19 of 22




      60.    The Individual Defendants acted as controlling persons of TCF within

the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of

their positions as officers and/or directors of TCF, and participation in and/or

awareness of the Company’s operations and/or intimate knowledge of the false

statements contained in the Proxy filed with the SEC, they had the power to influence

and control and did influence and control, directly or indirectly, the decision-making

of the Company, including the content and dissemination of the various statements

which Plaintiff contends are false and misleading.

      61.    Each of the Individual Defendants was provided with or had unlimited

access to copies of the Proxy and other statements alleged by Plaintiff to be

misleading prior to and/or shortly after these statements were issued and had the

ability to prevent the issuance of the statements or cause the statements to be

corrected.

      62.    In particular, each of the Individual Defendants had direct and

supervisory involvement in the day-to-day operations of the Company, and,

therefore, is presumed to have had the power to control or influence the particular

transactions giving rise to the securities violations as alleged herein, and exercised

the same. The Proxy at issue contains the unanimous recommendation of each of

the Individual Defendants to approve the Proposed Transaction. They were, thus,

directly involved in the making of the Proxy.




                                        - 19 -
Case 2:21-cv-10549-DPH-KGA ECF No. 1, PageID.20 Filed 03/11/21 Page 20 of 22




      63.    In addition, as the Proxy sets forth at length, and as described herein,

the Individual Defendants were each involved in negotiating, reviewing, and

approving the Proposed Transaction. The Proxy purports to describe the various

issues and information that they reviewed and considered—descriptions the

Company directors had input into.

      64.    By virtue of the foregoing, the Individual Defendants have violated

Section 20(a) of the Exchange Act.

      65.    As set forth above, the Individual Defendants had the ability to exercise

control over and did control a person or persons who have each violated Section

14(a) and SEC Rule 14a-9, promulgated thereunder, by their acts and omissions as

alleged herein. By virtue of their positions as controlling persons, these defendants

are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of defendants’ conduct, TCF’s stockholders will be irreparably harmed.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff demands judgment and preliminary and permanent

relief, including injunctive relief, in his favor on behalf of TCF, and against

defendants, as follows:

      A.     Preliminarily and permanently enjoining defendants and all persons

             acting in concert with them from proceeding with, consummating, or

             closing the Proposed Transaction and any vote on the Proposed




                                        - 20 -
Case 2:21-cv-10549-DPH-KGA ECF No. 1, PageID.21 Filed 03/11/21 Page 21 of 22




           Transaction, unless and until defendants disclose and disseminate the

           material information identified above to TCF stockholders;

     B.    In the event defendants consummate the Proposed Transaction,

           rescinding it and setting it aside or awarding rescissory damages to

           Plaintiff;

     C.    Declaring that defendants violated Sections 14(a) and/or 20(a) of the

           Exchange Act, as well as SEC Rule 14a-9 promulgated thereunder;

     D.    Awarding Plaintiff the costs of this action, including reasonable

           allowance for Plaintiff’s attorneys’ and experts’ fees; and

     E.    Granting such other and further relief as this Court may deem just and

           proper.

                                JURY DEMAND

     Plaintiff demands a trial by jury.

Dated: March 11, 2020                              WEISSLAW LLP


                                             By /s/ Richard A. Acocelli
                                                Richard A. Acocelli
                                                1500 Broadway, 16th Floor
                                                New York, New York 10036
                                                Tel: (212) 682-3025
                                                Fax: (212) 682-3010
                                                Email: racocelli@weisslawllp.com

                                                   Attorneys for Plaintiff




                                          - 21 -
Case 2:21-cv-10549-DPH-KGA ECF No. 1, PageID.22 Filed 03/11/21 Page 22 of 22




OF COUNSEL

BRAGAR EAGEL & SQUIRE,
P.C.

Alexandra B. Raymond
810 Seventh Avenue, Suite 620
New York, NY 10019
Tel: (646) 860-9158
Fax: (212) 214-0506
Email: raymond@bespc.com

Attorneys for Plaintiff




                                   - 22 -
